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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                  )   Chapter 7
 In re:                                           )
                                                  )
 CHARLES STEWART COHEN and                        )   Case No. 18-12705-amc
 OFELIA COHEN,                                    )
                                                  )
                              Debtors.            )
                                                  )

   OBJECTION OF GARY F. SEITZ, CHAPTER 7 TRUSTEE, TO THE MOTION OF
     WILMINGTON SAVINGS FUND SOCIETY, FSB FOR RELIEF FROM THE
                           AUTOMATIC STAY

          Gary F. Seitz, Chapter 7 Trustee in the above-captioned bankruptcy case (the “Trustee”),

by and through undersigned counsel, hereby objects to the Motion of WILMINGTON SAVINGS

FUND SOCIETY, FSB (“Movant”) for Relief from the Automatic Stay (the “Motion”), and, in

support thereof, respectfully state as follows:

          1.     Admitted.

          2.     Admitted.

          3.     Denied. The allegations in this paragraph reference a document, the truth of which

speaks for itself and to which no response is required.

          4.     Admitted.

          5.     Admitted.

          6.     Denied.     The Trustee is without sufficient information to admit or deny the

allegations in this paragraph and therefore denies same.

          7.     Denied.     The Trustee is without sufficient information to admit or deny the

allegations in this paragraph and therefore denies same.
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       8.      Denied.    The Trustee is without sufficient information to admit or deny the

allegations in this paragraph and therefore denies same.

       9.      Denied as a conclusion of law. By way of further response, the Trustee is in the

process of retaining a real estate agent to market and sell the Debtors’ real property, for the benefit

of all creditors, including Movant.

       10.     Denied as a conclusion of law.

       WHEREFORE, the Trustee respectfully requests that the Court deny the relief requested

in the Motion, and for such other relief as this Court may deem just and proper.


Dated: June 19, 2018                    GELLERT SCALI BUSENKELL & BROWN LLC

                                               /s/ Holly S. Miller
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